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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
UNITED STATES DEPARTMENT OF JUSTICE                                Order Filed on February 28,
                                                                 2019 by Clerk, U.S. Bankruptcy
OFFICE OF THE UNITED STATES TRUSTEE                               Court - District of New Jersey
ANDREW R. VARA
ACTING UNITED STATES TRUSTEE, REGION 3
Martha R. Hildebrandt, Esquire
One Newark Center, Suite 2100
Newark, NJ 07102
Telephone: (973) 645-3014
Facsimile: (973) 645-5993
Email: Martha.Hildebrandt@usdoj.gov

In Re:                                                  Case No.: 18-31186(SLM)
                                                        Chapter 7
Jesse J. Johnstone,
                                                        Hearing Date: February 26, 2019, at 10:00 a.m.
Debtor.
                                                        The Honorable Stacey L. Meisel



   ORDER EXTENDING THE TIME TO FILE A MOTION TO DISMISS CASE UNDER
    11 U.S.C. §§ 707(b)(1) AND (3), AND EXTENDING TIME TO FILE A COMPLAINT
                  OBJECTING TO DISCHARGE UNDER 11 U.S.C. § 727

          The relief set forth on the following page, numbered 2, is hereby ORDERED.




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Debtor: Jesse J. Johnstone
Chapter 7 Case No. 18-31186 (SLM)
Order Extending the Time to File a Motion to Dismiss Case Under 11 U.S.C. §§ 707(b)(1)
and (3), and Extending the Time to File a Complaint Objecting to Discharge Under 11
U.S.C. § 727
_____________________________________________________________________________

       Upon consideration of the Acting United States Trustee’s motion, by and through

counsel, for an order extending the time for the Acting United States Trustee to file a motion

under 11 U.S.C. §§ 707(b)(1) and (3), and extending the time to file a complaint objecting to

discharge under 11 U.S.C. § 727, and notice of the motion having been given to the Debtor and

his counsel, and the Court having found cause for the entry of the within order, it is hereby

       ORDERED that any motion by the Acting United States Trustee or the Chapter 7 trustee

to dismiss this case under 11 U.S.C. §§ 707(b)(1) and (3), or any complaint objecting to

discharge under 11 U.S.C. § 727, must be filed by March 25, 2019; and it is further

       ORDERED that the Acting United States Trustee reserves his right to seek a further

extension of the time to file a motion to dismiss under 11 U.S.C. §§ 707(b)(1) and (3), or a

complaint objecting to discharge under 11 U.S.C. § 727.
